Roy Ford

From:                           CA06-ECF-NoticeDesk
Sent:                           Tuesday, March 11, 2025 3:42 PM
To:                             Roy Ford
Subject:                        FW: 24-5588 TN, et al v. Miguel Cardona, et al "additional citation (28j)"


Email regarding attorney Sylvia May Mailman in 24-5588.
                                                                                    RECEIVED
                                                                                        03/11/2025
                                                                                KELLY L. STEPHENS, Clerk
From: May Mailman <may.mailman@iwf.org>
Sent: Tuesday, March 11, 2025 3:27 PM
To: CA06-ECF-NoticeDesk <CA06-ECF-NoticeDesk@ca6.uscourts.gov>
Subject: Re: 24-5588 TN, et al v. Miguel Cardona, et al "additional citation (28j)"


I am no longer working at Independent Women. Please contact Beth Parlato, beth.parlato@iwf.org, for most matters
regarding IWLC.



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                        May Mailman
                        Director of Independent Women's Law Center
                        Independent Women’s Forum
                        785.447.0436
                        may.mailman@iwf.org




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